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 1 Roger Jon Diamond, Esq. (State Bar No. 40146)
      rogdiamond@aol.com
 2 Law Offices of Roger Jon Diamond
   1717 Fourth Street, Third Floor
 3 Santa Monica, California 90401
   Tel. (310) 452-6643
 4
   Kamille R. Dean, Esq. (State Bar No. 234468)
 5    kamille@kamilledean.com
   Law Offices Of Kamille Dean, PLC
 6 4545 North 36th Street, Suite 202
   Phoenix, Arizona 85018
 7 Tel. (602) 252-5601
 8 Attorneys for Defendant
   JULIAN OMIDI
 9
   [additional attorneys and parties on next page]
10
                        IN THE UNITED STATES DISTRICT COURT
11
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
      UNITED STATES OF AMERICA,                   Case No. CR 17-00661(A)-DMG
13
14               Plaintiff,                       [Assigned to Hon. Dolly M. Gee, District
           vs.                                    Court Judge]
15                                                     REDACTED PUBLIC VERSION
                                                  DEFENDANTS’ NOTICE OF MOTION
16 JULIAN OMIDI, INDEPENDENT                      AND MOTION FOR AN ORDER TO
17 MEDICAL SERVICES,                              SHOW CAUSE WHY
   INC., SURGERY CENTER                           GOVERNMENT’S COUNSEL
18 MANAGEMENT, LLC, and MIRALI                    SHOULD NOT BE SANCTIONED FOR
   ZARRABI, M.D.,                                 RULE 6(E) VIOLATION; REQUEST
19                                                FOR ORDER TO COMPEL
             Defendants.                          DISCOVERY PENDING AN
20                                                EVIDENTIARY HEARING
21                                                [MEMORANDUM OF POINTS AND
22                                                AUTHORITIES IN SUPPORT THEREOF
                                                  AND DECLARATION OF KAMILLE R.
23                                                DEAN IN SUPPORT THEREOF
                                                  LODGED HERE IN]
24                                                Date:        Wednesday May, 16, 2018
25                                                Time:        2:30 p.m.
                                                  Dept.:       Courtroom 8C
26                                                Location:    350 West 1st Street, 8th Floor
                                                               Los Angeles, CA 90012
27                                                Trial:       October 9, 2018 at 8:30 a.m.

28
30          Case No. CR 17-00661(A)-DMG          1
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 George J. Paukert, Esq. (SBN: 183124)
      paukburt@aol.com
 2 Law Office of George J. Paukert
   44376 Hazel Canyon Ln
 3 Palm Desert, CA 92260-3054
   Telephone: (310) 826-0180
 4
   Attorneys for Defendant
 5 INDEPENDENT MEDICAL SERVICES
   INC., a professional corporation, and
 6 SURGERY CENTER MANAGEMENT, LLC
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30          Case No. CR 17-00661(A)-DMG          2
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1        DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO
 2           SHOW CAUSE WHY GOVERNMENT’S COUNSEL SHOULD NOT BE
 3         SANCTIONED FOR RULE 6(E) VIOLATION; REQUEST FOR ORDER TO
 4              COMPEL DISCOVERY PENDING AN EVIDENTIARY HEARING
 5 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 6            PLEASE TAKE NOTICE that on Wednesday May 16, 2018, at 2:30 p.m. or, as
 7 soon as this matter may be heard in Courtroom 8C, within this Court, located at 350 West
 8 1st Street, 8th Floor, Los Angeles, California, 90012, Defendants Julian Omidi, Surgery
 9 Center Management, LLC, and Independent Medical Services, Inc., (“Defendants”), by
10 and through their respective counsel of record, Roger Jon Diamond, Esq., of the Law
11 Offices of Roger Jon Diamond, Kamille Dean, of Law Offices of Kamille Dean, PLC, and
12 George J. Paukert, Esq., Law Office of George J. Paukert, hereby request an order to show
13 cause why government’s counsel, including but not limited to Attorney for the United
14 States1 TRACY L. WILKISON, Assistant United States Attorneys LAWRENCE
15 MIDDLETON, KRISTEN A. WILLIAMS, CATHY J. OSTILLER, ALEXANDER C.K.
16 WYMAN, and any other government’s counsel and/or others/agents involved in the
17 preparation and filing of “GOVERNMENT’S EX PARTE APPLICATION FOR ORDER
18 DIRECTING DISCLOSURE OF TAX RETURNS AND RETURN INFORMATION
19 AND FOR PROTECTIVE ORDER” (Dkt. 111) should not be sanctioned for violation of
20 Federal Rule of Criminal Procedure 6(e)(2), which prohibits attorneys for the government
21 from disclosing confidential grand jury information. Moreover, the Court should order full
22 discovery as to the government’s violation, pending an evidentiary hearing, so that
23 Defendants can propose an appropriate remedy.
24            This Motion is based on this Notice of Motion and Motion, the accompanying
25 Memorandum of Points and Authorities, the accompanying Declaration of Attorney
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          Acting under authority conferred by 28 U.S.C. § 515.
28
30             Case No. CR 17-00661(A)-DMG          3
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31                GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 Kamille R. Dean, all matters which the court must or may judicially, and the documents
 2 and pleadings previously filed this court, including but not limited to the filing at Docket
 3 Number 111.
 4          The government has been expressly informed of its Rule 6(e) violation. See,
 5 “Defendant Julian Omidi’s Amended Opposition to the Government’s Ex Parte
 6 Application for Order Directing Disclosure of Tax Returns and Return Information and
 7 For Protective Order”, Dkt. 132 at 16-17. However, in the government’s Reply, Dkt. 139,
 8 the government has failed to even address the 6(e) violation, thus waiving the issue and
 9 conceding its violation of Rule 6(e). Any further meet and confer on the issue would be
10 futile. Tiki Shark Art Inc. v. CafePress, Inc., 2014 WL 3928799, at *3 (D. Hawaii 2014)
11 (where meet and confer efforts show futility the court will not require further futile
12 efforts); Yue v. Storage Technology Corp., 2008 WL 4185835, at *1 (N.D. Cal. 2008)
13 (requiring the parties to meet and confer world be futile). Moreover, informal resolution
14 of a sanctions motion against the government would be futile. Thomas v. Baca, 231
15 F.R.D. 397, 404 (C.D. Cal. 2005) (explaining that failure to meet and confer, as required
16 by local rule, was not a sufficient reason to deny class certification motion because
17 informal resolution of motion was not possible).
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 1 Dated: April 13, 2018               Law Offices of Kamille Dean, PLC
                                       Law Offices of Roger Jon Diamond
 2
 3
 4                                     By: /s/ Kamille Dean
                                           Kamille Dean
 5                                         Roger Jon Diamond
                                       Attorneys for Defendant
 6                                     JULIAN OMIDI
 7
      Dated: April 13, 2018            Law Office of George J. Paukert
 8
 9
                                       By: /s/ George J. Paukert
10                                            George J. Paukert
                                       Attorneys for Defendants
11                                     INDEPENDENT MEDICAL SERVICES INC., a
                                       professional corporation, and SURGERY CENTER
12                                     MANAGEMENT, LLC
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 6                    Procedure, By Describing What The Grand Jury Was Investigating,
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 8                             of Rule 6(e). .......................................................................................... 4
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                               a.        The source of the disclosure was an attorney or agent of
10                                       the government. .......................................................................... 5
11                             b.        There has been disclosure of a matter or matters occurring
                                         before the grand jury. .................................................................. 6
12
                               c.        The government’s violation was particularly egregious,
13                                       given the purpose of Rule 6(e) ................................................... 6
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16                    Their Disclosure Does Not Constitute Matters Occurring Before The
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18                    Willful............................................................................................................ 10
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20                             attorney drafted document. ................................................................. 11
21                    2.       The AUSAs in this case are acutely aware of the fact that they
                               are not to disclose any information about the grand jury. .................. 11
22
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23                             Williams confirmed—under the penalty of perjury—that she
24                             understood it would be a violation to publicly file a document
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26                             charge—purported tax claims for which Defendants were
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.         INTRODUCTION
 3            The government filed an ex parte application for an order, under 26 U.S.C. § 6103,
 4 to allow the United States Attorney’s Office (the “USAO”) to disclose tax returns and
 5 return information to Defendants, which section 6103 otherwise prohibits the USAO from
 6 disclosing. Dkt. 111. However, the government’s ex parte application violated Rule 6(e)
 7 of the Federal Rules of Criminal Procedure, by describing what the grand jury was
 8 investigating, including purported criminal tax violations of Defendants (and others not
 9 charged but allegedly associated with Defendants), (see, dkt. 111, at pp. 1-2), which the
10 grand jury did not include in the Superseding Indictment, (dkt. 12), and by stating that the
11 “Government counsel received these tax returns and return information” for use in the
12 “federal grand jury proceedings.” (Dkt. 111, at pp. 1-2 (emphasis added).)
13       This case is not a tax case, as the government itself has conceded. The
14 government’s conduct was outrageous and intentional. Thus, the Court should issue an
15 order to show cause why government’s counsel, including but not limited to Acting
16 Attorney for the United States2 TRACY L. WILKISON, Assistant United States
17 Attorneys KRISTEN A. WILLIAMS, CATHY J. OSTILLER, ALEXANDER C.K.
18 WYMAN, and any other government’s counsel and/or employees involved in the
19 preparation and filing of the ex parte application (Dkt. 111) should not be sanctioned for
20 violation of Rule 6(e), which prohibits attorneys for the government from disclosing
21 confidential grand jury information. Moreover, it is not clear what the appropriate remedy
22 should be until the government appropriately responds, including producing discovery.
23 See, In re Sealed Case No. 98-3077, 151 F.3d 1059, 1076-77 & n.21 (D.C. Cir. 1998)
24 (holding that if “the district court determines that a violation of Rule 6(e)(2) has occurred .
25 . . [t]he movants may then participate in determining the appropriate remedy,” at which
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27
      2
          Acting under authority conferred by 28 U.S.C. § 515.
28
30           Case No. CR 17-00661(A)-DMG            1
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31               GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 point an “adversarial presentation may be appropriate, since what appears to be harmless
 2 to a district judge may be prejudicial if seen in light of a defense counsel's special
 3 familiarity with a given prosecution” (quotation marks and citations omitted)); United
 4 States v. Pimental, 199 F.R.D. 28, 37 (D. Mass. 2001) (defendants “entitled to discovery
 5 to determine the scope and possible impact of the Rule 6(e) violations”).
 6          Here, a Rule 6(e) violation has occurred, and the government has conceded it
 7 occurred because, after being put on notice of the same in two pleadings by Defendants
 8 (dkt. 132, at 16, and dkt. 125, at 5-10) in the government’s subsequent reply to those
 9 pleadings, (dkt. 139), the government failed to address the 6(e) violation, (id.) thus
10 waiving the issue of its violation of Rule 6(e). As such, the only questions that remain are
11 the depth and breadth of the government’s Rule 6(e) violations, and the appropriate
12 remedy—both of which Defendants intend to explore at an evidentiary hearing, with
13 Court ordered government production of discovery pending the evidentiary hearing as
14 discussed below.3
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        Once the Court has determined a Rule 6(e) violation has occurred, Defendants will show
19    the government’s violations have been longstanding and widespread. Thus, the only
      remedy that will suffice is one which will preserve judicial integrity and “deter [the]
20    pattern of demonstrated and longstanding widespread [and] continuous official
      misconduct.” United States v. Broward, 594 F.2d 345, 351 (2d Cir. 1979); see also United
21    States v. Long, No. 1:16 CR91-1, 2016 WL 5400416, at *3 (M.D.N.C. Sept. 27, 2016)
22    (dismissing indictments in part to “deter[] future prosecutorial misconduct”); Schoenauer
      v. United States, 759 F. Supp. 2d 1090, 1106 (S.D. Iowa 2010) (dismissing counts for
23    same reason); United States v. Aaronoff, No. 91 CR. 221 (CSH), 1992 WL 30680, at *11
      (S.D.N.Y. Feb. 10, 1992) (court may “dismiss[] an indictment for deterrence purposes” if
24    “the course of official misconduct is a demonstrated, long-standing one”), aff'd, 990 F.2d
      622 (2d Cir. 1993). Only “a reversal with instructions to dismiss the indictment” will
25    “translate the assurances” of the government into actual “performance” consistent with its
26    legal obligations. United States v. Estepa, 471 F.2d 1132, 1137 (2d Cir. 1972); In re
      Grand Jury Investigation (90-3-2), 748 F. Supp. 1188, 1206 (E.D. Mich. 1990) (district
27    court may disqualify parties who violate grand jury secrecy “under its inherent and
      supervisory powers, if not [Rule 6(e)] itself”).
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30         Case No. CR 17-00661(A)-DMG            2
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 1 II.      ARGUMENTS
 2          A.    The Government Violated Rule 6(e) Of The Federal Rules Of Criminal
                  Procedure, By Describing What The Grand Jury Was Investigating,
 3                Including Purported Criminal Tax Violations
 4
            In relevant part, the government’s ex parte application states
 5
            During the course of the investigation leading to the First Superseding
 6          Indictment, the government investigated defendants OMIDI, IMS, SCM,
            and ZARRABI, as well as other individuals and entities associated with the
 7
            network of entities controlled by defendant OMIDI known as “GET THIN,”
 8          for potential tax and money laundering violations. (See, Declaration of
            Alexander C.K. Wyman (“Wyman Decl.”) ¶ 2.)
 9
            In connection with the tax and money laundering investigations,
10          government counsel obtained copies of certain GET THIN individuals and
11          entities’ tax returns and return information. (Id.) Government counsel
            received these tax returns and return information from Special Agents with
12          the Internal Revenue Service – Criminal Investigations (“IRS-CI”) pursuant
13          to 26 U.S.C. § 6103(h)(2), which authorizes the Internal Revenue Service’s
            disclosure of tax returns and return information to an employee of the
14          Department of Justice in a matter involving tax administration for the
15          Department of Justice employee’s use in a federal grand jury proceeding.
            (Wyman Decl. ¶ 2.)
16
17          (Dkt. 111, at pp. 1-2 (emphasis added).)4

18
19
      4
     Even if the government wants to misrepresent the record and argue that Mrs. Omidi
20 disclosed this type of information before (a contention which is refuted by the record),
21 Mrs. Omidi is not Julian Omidi, and Julian Omidi never permitted his privileged tax
   information to be disclosed. Further, any purported disclosure of an investigation (with no
22 mention of the grand jury) by a lay person with no 6(e) obligation—does not excuse the
   government’s violation of Rule 6(e), by describing what the grand jury was investigating:
23
         The court has an interest in the integrity of the proceedings and the safety of
24       those involved, the government has an interest in the outcome of its
         investigation, and the public has an interest in the fairness of the grand jury
25       investigatory process. Duran's personal decision to disclose what he may
26       have learned about the grand jury investigation does not compel disclosure
         or unsealing of the court's filings or hearing transcripts related to the
27       grand jury. It is well established that unsealing this type of record can have
         broad implications. [Footnote continued on next page].
28
30         Case No. CR 17-00661(A)-DMG            3
              DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1          As explained below, by (1) describing what the grand jury was investigating,
 2 including purported criminal tax violations—which are not part of the current Superseding
 3 Indictment (dkt. 12)—(2) by stating that the “Government counsel received these tax
 4 returns and return information” for use in the “federal grand jury proceedings,” (see,
 5 dkt. 111, at pp. 1-2 (emphasis added)), and (3) by outing Defendants, including Dr. Mirali
 6 Zarrabi, and “other individuals and entities” allegedly with Defendants, as having been
 7 investigated by the grand jury for tax violations even though the grand jury chose not to
 8 indict Defendants for tax violations, the government violated Rule 6(e).
 9                1.     Defendants have presented a prima facie case of such a violation of
                         Rule 6(e).
10
            The secrecy requirements imposed upon the grand jury are necessary to safeguard
11
      the proper functioning of the grand jury system. In re Grand Jury Investigation (Lance),
12
      610 F.2d 202, 213 (5th Cir. 1980) (citing Douglas Oil Co. v. Petro Stops Northwest, 441
13
14
   United States v. Index Newspapers, LLC, 766 F.3d 1072, 1087 (9th Cir. 2014) (emphasis
15 added). Furthermore, the government does not contend that tax return information as to
16 Defendant Dr. Mirali Zarrabi was ever publicly disclosed, and cannot make any excuse
   for its public disclosure that Dr. Zarrabi was under tax investigation. Thus, it cannot be
17 disputed that the government has deliberately violated Rule 6(e).
18         In addition, as confirmed by the Office of the Inspector General’s “A Report of
   Investigation of Certain Allegations Relating to Former FBI Deputy Director Andrew
19 McCabe” unsealed on April 13, 2018 (found at https://goo.gl/ucHDs3), any public
   government confirmation of an investigation is separate act of misconduct warranting
20 severe sanctions:
21         [W]e concluded that McCabe’s decision to confirm the existence of the
           [Clinton Foundation] Investigation through an anonymously sourced quote,
22         recounting the content of a phone call with a senior Department official in a
           manner designed to advance his personal interests at the expense of
23         Department leadership, was clearly not within the public interest exception.
24        We therefore concluded that McCabe’s disclosure of the existence of an
          ongoing investigation in this manner violated the FBI’s and the
25        Department’s media policy and constituted misconduct.
26        Id. at 2 (emphasis added). Here, the government’s public disclosure of the grand
   jury’s investigation into Defendants’ tax information far more outrageous, because it was
27 also a violation of Rule 6(e). There is simply no public interest for the government to
   publicly confirm the grand jury was investigating Defendants for tax violations.
28
30         Case No. CR 17-00661(A)-DMG            4
              DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 U.S. 211 (1979) and United States v. Proctor & Gamble Co., 356 U.S. 677 (1958)). Grand
 2 jury secrecy shields what has occurred, what is occurring, and what is likely to occur
 3 before the grand jury including “the identities of witnesses or jurors, the substance of
 4 testimony as well as actual transcripts, the strategy or direction of the investigation, [and]
 5 the deliberations or questions of jurors.” In re Motions of Dow Jones & Co., 142 F.3d 496,
 6 500 (D.C. Cir. 1998) (internal quotation marks omitted). A knowing violation of Rule 6
 7 may be punished as a contempt of court. United States v. Stone, 633 F.3d 1272, 1275 (9th
 8 Cir. 1979); Fed. R. Crim. P. 6(e)(7).
 9            Rule 6(e)(2) bars the disclosure of any “matter occurring before a grand jury” by
10 one of several enumerated parties, including, in particular, “an attorney for the
11 government.” Fed. R. Crim. P. 6(e)(2)(B)(iv). If the defendant believes that there has been
12 an improper disclosure in violation of Rule 6(e)(2), the defendant must first make a prima
13 facie showing that (1) there has been disclosure of a matter or matters occurring before the
14 grand jury; and (2) that the source of the disclosure was an attorney or agent of the
15 government. Barry v. United States, 865 F.2d 1317, 1321 (D.C. Cir. 1989); see also,
16 United States v. Rioux, 97 F.3d 648, 662 (2d Cir. 1996). Once the defendant has made a
17 prima facie showing, the burden then shifts to the government to rebut the defendant's
18 case in a show cause hearing. Barry, 865 F.2d at 1321. Here, both elements have been
19 met.
20                         a.     The source of the disclosure was an attorney or agent of the
                                  government.
21
              First, as is required to establish a prima facie showing, the source of the disclosure
22
      was an attorney or agent of the government, because the disclosure was in an ex parte
23
      application filed in this case, by Attorney for the United States5 TRACY L. WILKISON,
24
      Assistant United States Attorneys LAWRENCE MIDDLETON, KRISTEN A.
25
      WILLIAMS, CATHY J. OSTILLER, and ALEXANDER C.K. WYMAN. (Dkt. 111.)
26
27
      5
          Acting under authority conferred by 28 U.S.C. § 515.
28
30           Case No. CR 17-00661(A)-DMG            5
                DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31               GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1                       b.     There has been disclosure of a matter or matters occurring
                                before the grand jury.
 2
            Second, as is required to establish a prima facie showing, there has been disclosure
 3
      of a matter or matters occurring before the grand jury. Specifically, Rule 6(e) imposes
 4
      strict secrecy requirements on grand jury matters, mandating that
 5
            records, orders, and subpoenas relating to grand-jury proceedings must be
 6          kept under seal to the extent and as long as necessary to prevent the
 7          unauthorized disclosure of a matter occurring before a grand jury.
 8          Fed. R. Crim. P. 6(e)(6).
 9          Rule 6(e) does not define what constitutes a “matter occurring before the grand
10 jury,” but courts have interpreted “[m]atters occurring before a grand jury” extend beyond
11 transcripts of grand jury proceedings to include summaries and discussions of grand jury
12 proceedings, U.S. Indus. Inc. v. U.S. Dist. Court, 345 F.2d 18, 20-21 (9th Cir. 1965), and
13 includes “the identities of witnesses or jurors, the substance of testimony, the strategy or
14 direction of the investigation, the deliberations or questions of jurors, and the like,” SEC
15 v. Dresser Indus., Inc., 628 F.2d 1368, 1382 (D.C. Cir. 1980) (emphasis added) (quoted in
16 Standley v. Dep’t of Justice, 835 F.2d 216, 218 (9th Cir. 1987)); see also, Martin v.
17 Consultants & Adm’r, Inc., 966 F.2d 1078, 1097 (7th Cir. 1992), which is precisely the
18 nature of the government’s public filing here. (Dkt. 111, at pp. 1-2.) Indeed, the
19 Superseding Indictment (dkt. 12) does not even hint at the fact that taxes were being
20 investigated by grand jury, which the government’s counsel so brazenly disclosed to this
21 Court and Public, by describing what the grand jury was investigating, including
22 purported criminal tax violations, and by stating that the “Government counsel received
23 these tax returns and return information” for use in the “federal grand jury
24 proceedings,” (see, dkt. 111, at pp. 1-2 (emphasis added)), the government violated Rule
25 6(e).
26                       c.     The government’s violation was particularly egregious,
                                given the purpose of Rule 6(e)
27
            Moreover, the government’s violation was particularly egregious, because one of
28
30         Case No. CR 17-00661(A)-DMG            6
              DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 the purposes behind Rule 6(e) is “to protect innocent accused who is exonerated from
 2 disclosure of the fact that he has been under investigation.” United States v. Procter &
 3 Gamble, 356 U.S. 677, 682 n. 6 (1958). Here, the government deliberately chose to
 4 publicly out defendants as having been investigated by the grand for tax violations (see,
 5 dkt. 111, at pp. 1-2) by the grand jury who brought the first superseding indictment, even
 6 though the grand jury in its superseding indictment, did not charge (dkt. 12), and thus
 7 exonerated defendants for tax violations. See, United States v. Fischbach & Moore, Inc.,
 8 776 F.2d 839, 843 (9th Cir. 1985) (“by preserving the secrecy of the proceedings, we
 9 assure that persons who are accused but exonerated by the grand jury will not be held up
10 to public ridicule.”) (quoting Douglas Oil Co. of California, 441 U.S. at 219).
11          On point, in United States v. Fischbach & Moore, Inc., 776 F.2d 839 (9th Cir.
12 1985) the Ninth Circuit reversed the district court’s disclosure of grand jury transcripts
13 reasoning: “These defendants have been subjected to charges before the grand jury
14 which have thus far proven unfounded, thereby increasing their interest in limiting
15 disclosure of the grand jury proceedings.” Id. at 844 (emphasis added). Here, too, the
16 grand jury chose not to indict on tax charges it was investigating, and the government’s
17 deliberate public disclosure was nothing short of outrageous.
18          Thus, there can be no dispute that the government’s counsel in this case violated
19 Rule 6(e), as the “scope and direction of the grand jury investigation,” the identities of the
20 targets and witnesses, and what has occurred before the grand jury constitutes “matters
21 occurring before the grand jury” that may not be disclosed absent a court order. In re John
22 Doe Grand Jury Proceedings, 537 F. Supp. 1038, 1044-45 (D.R.I. 1982) (“such things as
23 scope and direction of the grand jury investigation constitute ‘matters occurring before the
24 grand jury’ and are therefore protected from disclosure by the provisions of Rule 6(e)”)
25 (cited in United States v. Dynavac, Inc., 6 F.3d 1407, 1413 (9th Cir. 1993)) (citations
26 omitted).
27                      d.     The prejudice to Defendants cannot be undone.
28          The prejudice to Defendants is immense and cannot be undone. Defendants will
30         Case No. CR 17-00661(A)-DMG            7
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 now outrageously be held up to public ridicule for alleged tax violations which the grand
 2 jury chose not to indict. See, In re Fried, 161 F.2d 453, 458-59 (2d Cir. 1947) ("For a
 3 wrongful indictment is no laughing matter; often it works a grievous, irreparable injury to
 4 the person indicted. The stigma cannot be easily erased. In the public mind, the blot on a
 5 man's escutcheon [shield and protection], resulting from such a public accusation of
 6 wrongdoing, is seldom wiped out by a subsequent judgment of not guilty. Frequently, the
 7 public remembers the accusation, and still suspects guilt, even after an acquittal."); In re
 8 Grand Jury Subpoena, No. 16-03-217, 875 F.3d 1179, 1182 n.1 (9th Cir. 2017) (“We do
 9 not identify the subject of these inquiries to protect—to the extent we can while
10 adjudicating this subpoena challenge—the secrecy embodied in Federal Rule of Criminal
11 Procedure 6(e), designed to protect innocent parties who are ultimately never indicted for
12 any crime.”).
13          Moreover, the Government willfully disclosed the grand jury investigation of
14 alleged tax criminal activity noted above that was exonerated by the grand jury, which
15 served no legitimate purpose but to subject the Defendants to official defamation and
16 stigmatize them without providing them opportunity for vindication or name
17 clearing. See, In re Smith, 656 F.2d 1101, 1106 (5th Cir. 1981) (“no legitimate
18 governmental interests could be served by stigmatizing private citizens as criminals while
19 not naming them as defendants”) (citing United States v. Briggs, 514 F.2d 794, 804 (5th
20 Cir. 1975)). Defendants were subjected to “official defamation”, and not only were their
21 “due process” rights been violated, but also their Fifth Amendment “liberty and property
22 rights guaranteed by the Constitution.” Id. at 1107. Defendants have all pled not guilty to
23 all of the criminal allegations and they are innocent until proven guilty. Yet, Defendants,
24 were irreparably harmed without the due process of law. Id. (“The presumption of
25 innocence . . . was forgotten by the Assistant United States Attorney . . . which implicated
26 the Petitioner in criminal conduct without affording him a forum for vindication.”)
27
28
30         Case No. CR 17-00661(A)-DMG            8
              DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1          B.    The AUSAs In This Case Are Judicially Estopped From Arguing That
                  Their Disclosure Does Not Constitute Matters Occurring Before The
 2                Grand Jury, Based On Their Arguments To The Ninth Circuit.
 3          In 2015, Mr. Julian Omidi intervened in United States v. Cindy Omidi, No. 2:13-cr-
 4 00739-SVW (C.D. Cal.), and the government produced certain memorandum to Mr.
 5 Omidi under seal, which Mr. Omidi in turn wanted to produce to various U.S. Senators.
 6 Mr. Omidi requested such relief from Judge Steven V. Wilson. The AUSAs (who were
 7 handling this very case) opposed unsealing and Mr. Omidi’s production to the U.S.
 8 Senators, on the basis that the memorandums were grand jury material. Judge Wilson
 9 agreed with the government, and the matter was appealed. On appeal, the government
10 argued that “[m]aterials that confirm that a grand jury investigation is being conducted or
11 that risk revealing where the investigation is headed also constitute matters occurring
12 before a grand jury,” (Dean Decl., Exh. 1, United States v. Julian Omidi, No. 16-50252,
13 ECF No. 45 (9th Cir. August 14, 2017) (Government’s Answering Brief, at pp. 35-36
14 (citing United States v. Index Newspapers, LLC, 766 F.3d 1072, 1086 (9th Cir. 2014))),
15 which is precisely the type of information disclosed in the government’s ex parte
16 application. (Dkt. 111, at pp. 1-2.)
17       The same AUSAs affirmatively argued that the sealed “materials [at issue in that
18 case] were part of a federal grand jury investigation, whether or not directly presented to
19 the grand jury,” because the materials “referenced the government’s grand jury
20 investigation, including the identities of individuals and entities subpoenaed and targeted
21 during that investigation,” (Dean Decl., Exh. 1, at pp. 36-37), which is precisely the
22 nature of the government’s public filing here. (Dkt. 111, at pp. 1-2.)
23       Notably, the AUSAs won that argument on appeal, thereby blocking information
24 Mr. Omidi wished to release U.S. Senators, see United States v. Julian Omidi, No. 16-
25 50252, 2018 U.S. App. LEXIS 7407, at *3 (9th Cir. Mar. 23, 2018), and, therefore, under
26 the doctrine of judicial estoppel, the AUSAs are barred from taking a contrary position
27 here. See, Stevens Tech. Servs., Inc. v. S.S. Brooklyn, 885 F.2d 584, 588 (9th Cir. 1989)
28
30         Case No. CR 17-00661(A)-DMG            9
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 ("[j]udicial estoppel [sometimes referred to as the doctrine of preclusion of inconsistent
 2 positions] precludes a party from asserting a position in a current legal proceeding which
 3 is contrary to the position that party previously asserted in another"). Mr. Omidi relied to
 4 his prejudice on government’s affirmative misconduct.6
 5             Courts have even gone so far as to assert that when the government uses
 6 contradictory theories that violates due process. Smith v. Groose, 205 F.3d 1045, 1052
 7 (8th Cir. 2000) (“the use of inherently factually contradictory theories violates the
 8 principles of due process.”).
 9             C.    The Government’s Violation Of Rule 6(e) Was Intentional And Willful
10             Although, for the purposes of obtaining an order to show cause, Defendants do not
11 need to establish that the government’s violation was willful—instead, all that is needed is
12 a prima facia showing of a violation, Barry, 865 F.2d at 1321—the following
13 circumstances and evidence establishes that the government’s violation was in fact
14 intentional and willful, as an attorney's intent or willfulness may be inferred if his conduct
15
16    6
          In Kennedy v. United States, 965 F.2d 413, 417 (7th Cir. 1992), the Court stated:
17             This court, along with several other circuits, allows a private party to assert
18             equitable estoppel against the government in a very narrow category of
               cases—when the traditional elements of estoppel are shown and there is
19             affirmative misconduct on the part of the government. See United States v.
20             Asmar, 827 F.2d 907, 911 n. 4 (3rd Cir.1987) (noting that the First, Second,
               Seventh and Ninth Circuits have adopted tests requiring affirmative
21             misconduct on the part of government officials).
22
   The First, Second, Seventh, and Ninth Circuits have adopted approaches to government
23 estoppel similar to that expressed by the Third Circuit in Community Health Services of
24 Crawford County v. Califano, 698 F.2d 615 (3d Cir.1983), rev'd on other grounds sub
   nom. Heckler v. Community Health Services of Crawford County, 467 U.S. 51, 104 S.Ct.
25 2218, 81 L.Ed.2d 42 (1984), which requires affirmative misconduct on the part of the
26 government officials. See, e.g., Akbarin v. INS, 669 F.2d 839 (1st Cir.1982); Corniel-
   Rodriguez v. INS, 532 F.2d 301 (2d Cir.1976); Portmann v. United States, 674 F.2d 1155
27 (7th Cir.1982); Mukherjee v. INS, 793 F.2d 1006 (9th Cir.1986).
28
30           Case No. CR 17-00661(A)-DMG           10
                DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW CAUSE WHY
31               GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 discloses “a reckless disregard” for his professional conduct or duty. United States v.
 2 Thoreen, 653 F.2d 1332, 1342 (9th Cir. 1981); Rojas v. United States, 55 F.3d 61, 63 (2nd
 3 Cir. 1995). Indeed, “no person can intentionally avoid knowledge by closing his eyes to
 4 facts which should prompt him to investigate.” United States v. Eaglin, 571 F.2d 1069,
 5 1074 (9th Cir. 1977). Willful blindness is the “equivalent of actual knowledge” and
 6 accordingly satisfies the recklessness standard. Id.
 7                 1.    The pleading in question (the ex parte application) was an attorney
                         drafted document.
 8
            First, the pleading in question (the ex parte application) was an attorney drafted
 9
      document with three frontline AUSAs on the pleading, in addition to the Chief of the
10
      Criminal Division and the Acting US Attorney. (Dkt. 111.) This effort to improperly
11
      violate Rule 6(e) which serves absolutely no purpose other than to prejudice Defendants
12
      in this high-profile case7, was not an instance in which the AUSAs inadvertently disclosed
13
      a document which discussed or described grand jury material. Instead, the AUSAs and
14
      their supervisors intentionally drafted the ex parte application expressly using the words
15
      “grand jury” with the specific intention of filing the document publicly on the Court’s
16
      CM/ECF system.
17
                   2.    The AUSAs in this case are acutely aware of the fact that they are
18                       not to disclose any information about the grand jury.
19
            Second, the AUSAs in this case are acutely aware of the fact that they are not to
20
      disclose any information about the grand jury—in fact, they litigated Rule 6(e)’s nuances
21
      and obtained a victory in the Ninth Circuit. See, Omidi, 2018 U.S. App. LEXIS 7407, at
22
      *3. Also, demonstrative of the government’s acute awareness of its obligations under Rule
23
24    7
     Weber, Scott, Lap Band Company Accused of Cover Up, Channel Four News—NBC
   Local Los Angeles (Jan. 18, 2012), available at https://goo.gl/xeRLtA; Stuart Pfeifer,
25 GET-THIN brothers in fraud inquiry, Los Angeles Times, (Oct. 23, 2012), available at
26 https://goo.gl/ZnJQ8u; Gickman, Paul, 1-800-GET-THIN brothers investigated by federal,
   state crime agencies, 89.3 KPCC, (Oct. 23, 2012), available at https://goo.gl/evAHyv;
27 Ross, Brian and Galli, Cindy, 1-800-Get-Thin Under Fire for Lap-Band Surgery Deaths,
   ABC News, (May 11, 2012), available at https://goo.gl/4jcrwc.
28
30         Case No. CR 17-00661(A)-DMG           11
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1 6(e), in its prior filings in this case, when the government wanted to obtain an order for
 2 disclosure of various documents that referenced the grand jury and grand jury transcripts,
 3 the government filed an ex parte application under seal (including the application to file
 4 under seal and the order) which did not mention anything remotely analogous to the
 5 improper filing here. (See, Dkt. 66, 84-87.) More specifically, whereas the ex parte
 6 application to produce grand jury information (as well as the ex parte application to file
 7 under seal) were completely boilerplate and did not contain any specifics about the
 8 working of the grand jury (only mentioning that transcripts and documents exist and not
 9 the nature of those documents), (dkt. 66, 84-87), the publicly filed ex parte application
10 here (dkt. 111) was specific and concrete about certain matters the grand jury investigated
11 and apparently rejected—namely, a purported grand jury investigation into tax violations
12 and the examination of tax returns and tax information, stating “[i]n connectiaon with the
13 tax and money laundering investigations, … Government counsel received these tax
14 returns and return information” for use in the “federal grand jury proceedings.” (Dkt.
15 111, at pp. 1-2 (emphasis added).) Further, any claim that none of the five (5)
16 sophisticated government attorney contributors to the government’s ex parte application
17 (dkt. 111) noticed the express, blatant and prejudicial 6(e) violation in this high profile
18 case, would defy credulity.
19                3.     In a previous ex parte application to file under seal, AUSA
                         Williams confirmed—under the penalty of perjury—that she
20                       understood it would be a violation to publicly file a document that
21                       referenced the grand jury’s investigation.

22          Third, in the previous ex parte application to file grand jury material under seal, on
23 March 4, 2018, AUSA Williams confirmed—under the penalty of perjury—that she
24 understood it would be a violation to publicly file or disclose in discovery a document that
25 referenced the grand jury’s investigation:
26       The government’s ex parte application for an order allowing disclosure
         contains discussion of grand jury transcripts and subpoenas, the public
27       disclosure of which is prohibited by Rule 6(e) of the Federal Rules of
         Criminal Procedure. Accordingly, the government requests that the
28       government’s ex parte application for an order allowing disclosure of grand
30      Case No. CR 17-00661(A)-DMG            12
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31            GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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 1          jury testimony and references to grand jury subpoenas, together with the
            order thereon, this ex parte application (including the memorandum of points
 2          and authorities and the declaration of Kristen A. Williams), and this Court’s
 3          sealing order, be kept under seal until further order of the Court.

 4          (Dkts., 66, 84-87, Declaration of Kristen A. Williams (Mar. 4, 2018), ¶2.)

 5          Although AUSA Williams confirmed she understood what is “prohibited by Rule

 6 6(e) of the Federal Rules of Criminal Procedure,” the AUSAs (along with their
 7 supervisors) nevertheless intentionally filed the ex parte application at issue here
 8 publicly—approximately a month later, in April 3, 2017—and without a request for
 9 sealing. (Dkt. 111.)
10                 4.      The government’s motive was to smear Defendants with a
                           charge—purported tax claims for which Defendants were
11                         investigated—on which the grand jury did not return an
                           indictment
12
            Fourth, the government had a motive to violate Rule 6(e)—namely, to smear Mr.
13
      Omidi and Defendants with a charge (purported tax claims for which Defendants were
14
      investigated) on which the grand jury did not return an indictment. As is clear from the
15
      Superseding Indictment, the grand jury never charged Mr. Omidi with any tax violations
16
      (dkt. 12) although, as the government now makes clear, it was investigating Defendants,
17
      as well as others, for purported tax violations. (Dkt. 111, at pp. 1-2.) The government’s
18
      outrageous violation has even made those associated with Defendants, and never charged,
19
      subject to public ridicule. The goal of the government is obvious: to improperly and
20
      prejudicially isolate defendants and to prevent favorable defense witnesses to come
21
      forward, because the government’s public threat all those associated with Defendants are
22
      subjected to investigation for criminal tax and other criminal violations. (See, Dkt. 111, at
23
      1-2 “the government investigated defendants OMIDI, IMS, SCM, and ZARRABI, as
24
      well as other individuals and entities associated with the network of entities controlled
25
      by defendant OMIDI known as “GET THIN,” for potential tax and money laundering
26
      violations. (See, Declaration of Alexander C.K. Wyman (“Wyman Decl.”) ¶ 2.)”
27
      (emphasis added).)
28
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 1          One of the purposes behind Rule 6(e) is “to protect innocent accused who is
 2 exonerated from disclosure of the fact that he has been under investigation,” Procter &
 3 Gamble, 356 U.S. at 682 n. 6, and, here, while it is true that Defendants were indicted,
 4 neither Defendants, nor those associated with Defendants, were charged with violating
 5 with any tax violations. (Dkt. 12.) Therefore, the violation of Rule 6(e), as has occurred
 6 here, went to the very heart of the secrecy issues surrounding the grand jury and was not
 7 only a clearly and intentional act of retaliation against the grand jury for not indicting
 8 Defendants on the purported tax violations, but also a blatant attempt to prejudice
 9 Defendants in this high profile case. The leaking of secret grand jury information for an
10 improper purpose, as has occurred here, can constitute the crime of obstruction of justice
11 under 18 U.S.C. § 1503. States v. Brenson, 104 F.3d 1267, 1276 (11th Cir. 1997) ("[A]
12 person who improperly reveals grand jury information in violation of Rule 6(e)(2) can be
13 convicted for obstruction of justice...."); United States v. Saget, 991 F.2d 702, 713 (11th
14 Cir. 1993) ("Any person who knowingly violates Rule 6(e)(2) . . . or induces or attempts
15 to induce another person to violate the Rule may be convicted for obstruction of justice
16 under § 1503." (internal quotation marks omitted)); United States v. Forman, 71 F.3d
17 1214, 1220 (6th Cir. 1995) (even "one who divulges grand jury materials but is not
18 subject to Rule 6(e)(2) is still liable to prosecution under 18 U.S.C. § 1503 for obstruction
19 of justice"); United States v. Nobrega, No. 1:10-cr-00186 (JAW), 2015 WL 8082455, at
20 *3 (D. Me. Dec. 7, 2015) ("Individuals who violate the secrecy of grand jury proceedings
21 may be subject to criminal prosecution under 18 U.S.C. § 1503.").
22          D.    The Court Should Order the Government to Disclose All Documents and
                  Communications Relating To Government’s Rule 6(e) Violation, to
23                Include Those Claimed to be Privileged Under the Government
24                Commission of a Crime-Fraud

25          Defendants have presented compelling evidence the government has engaged in an
26 outrageous violation of Rule 6(e). Defendants request the Court compel the government to
27 disclose all communications and documents regarding the Rule 6(e) violation, to include
28 all documents and communications relating to the government’s ex parte application (dkt.
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 1 111 and 137), including those relating to drafting and submission, and even those which
 2 the government deems privileged because of the government’s crime fraud. See, In re
 3 Sealed Case, 121 F.3d 729, 738 (D.C.Cir.1997) (“[W]here there is reason to believe the
 4 documents sought may shed light on government misconduct, the privilege is routinely
 5 denied, on the grounds that shielding internal government deliberations in this context
 6 does not serve the public's interest in honest, effective government.” (internal quotation
 7 marks omitted)). See also, Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118
 8 (D.D.C. 2005):
 9          Clearly, the information sought is related to Tri–State's allegations of
            misconduct, and plaintiff has shown some evidence to support these
10          allegations and justify the application of the crime-fraud exception. However,
11          it is impossible to know, without reviewing the documents in camera,
            whether the government consulted with attorneys with the intent to further
12          any unlawful or fraudulent acts or whether its general purpose in consulting
            with attorneys was to commit a fraud. Accordingly, the government must
13          submit all responsive documents, along with a reasonably detailed privilege
            log, to chambers for an in camera review. See United States v. Zolin, 491
14          U.S. 554, 570–72, 109 S.Ct. 2619, 105 L.Ed.2d 469 (1989) (“Before
15          engaging in in camera review to determine the applicability of the crime-
            fraud exception, ‘the judge should require a showing of a factual basis
16          adequate to support a good faith belief by a reasonable person,’ that in
            camera review of the materials may reveal evidence to establish the claim
17          that the crime-fraud exception applies.”) (internal citation omitted); Edna
18          Selan Epstein, The Attorney–Client Privilege and the Work–Product
            Doctrine 444 (4th ed. 2001).
19
            Id. at 134.
20
            Here, Defendants have provided the Honorable Court convincing evidence of
21
      shocking government misconduct, far exceeding their “minimal burden” to establish
22
      disclosure by the government of even claimed privileged communications and records,
23
      under the crime-fraud doctrine. See, In re Grand Jury Subpoena 92-1(SJ), 31 F.3d 826
24
      (9th Cir. 1994):
25
            the burden on the requesting party is “relatively minimal.” Id. We require
26          only “[a] showing sufficient to establish a reasonable belief that in camera
            review may lead to evidence that the exception applies”; we do not require a
27          prima facie showing that the exception does apply. Id. at 1073 (emphasis
            added). This lenient threshold “strikes a balance between the intrusion
28          imposed on the privilege by the review process and the likelihood that in
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 1            camera review may reveal evidence to show that the crime-fraud exception
              applies.” Id. at 1072. To require a detailed consideration of all available
 2            evidence at the threshold step of the Zolin analysis would severely disrupt
 3            this balance.

 4            Id. at 830.

 5            If the government claims it has done nothing wrong, the government should have

 6 no objection to full discovery and disclosure in this matter because “lawyers representing
 7 the government ... serve truth and justice first.” United States v. Kojayan, 8 F.3d 1315,
 8 1323 (9th Cir.1993).
 9 III. CONCLUSION
10            Accordingly, the Court should issue an order to show cause why government’s
                                                                       8
11 counsel, including but not limited to Attorney for the United States TRACY L.
12 WILKISON, Assistant United States Attorneys LAWRENCE MIDDLETON, KRISTEN
13 A. WILLIAMS, CATHY J. OSTILLER, ALEXANDER C.K. WYMAN, and any other
14 government’s counsel and/or others/agents involved in the preparation and filing of the ex
15 parte application (Dkt. 111) should not be sanctioned for violation of Rule 6(e), which
16 prohibits attorneys for the government from disclosing confidential grand jury
17 information.
18       It is further requested that the Court order the government to produce full discovery
19 as to the violation of Rule 6(e). This discovery would include all of the government’s
20 communications and documents relating to the ex parte application (Dkts. 111 and 139),
21 in addition to any production of any claimed privileged documents for in camera review
22 of the Court under the crime fraud exception, pending an evidentiary hearing so that
23 Defendants can propose an appropriate remedy for this serious violation.
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25
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      8
          Acting under authority conferred by 28 U.S.C. § 515.
28
30           Case No. CR 17-00661(A)-DMG           16
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 1 Dated: April 13, 2018                Law Offices of Kamille Dean, PLC
                                        Law Offices of Roger Jon Diamond
 2
 3
 4                                      By: /s/ Kamille Dean
                                            Kamille Dean
 5                                          Roger Jon Diamond
                                        Attorneys for Defendant
 6                                      JULIAN OMIDI
 7
      Dated: April 13, 2018             Law Office of George J. Paukert
 8
 9
                                        By: /s/ George J. Paukert
10                                             George J. Paukert
                                        Attorneys for Defendants
11                                      INDEPENDENT MEDICAL SERVICES INC., a
                                        professional corporation, and SURGERY CENTER
12                                      MANAGEMENT, LLC
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 1                      DECLARATION OF ATTORNEY KAMILLE DEAN
 2            I, KAMILLE DEAN, declare as follows:
 3            1.     I am the attorney for Julian Omidi in this matter. I make this declaration in
 4 support of DEFENDANT JULIAN OMIDI'S NOTICE OF MOTION AND MOTION
 5 FOR AN ORDER TO SHOW CAUSE WHY GOVERNMENT’S COUNSEL SHOULD
 6 NOT BE SANCTIONED FOR RULE 6(E) VIOLATION.
 7            2.     This declaration is based on personal knowledge and I would be able to
 8 testify to the facts stated herein.
 9            3.     Attached hereto as Exhibit 1 is a true and correct copy of the relevant
10 portions of the Government’s Answering Brief in United States v. Julian Omidi, No. 16-
11 50252, ECF No. 45 (9th Cir. August 14, 2017).
12            4.     Attached hereto as Exhibit 2 is a true and correct copy of the Ninth Circuit
13 Memorandum of Disposition in United States v. Julian Omidi, No. 16-50252, 2018 U.S.
14 App. LEXIS 7407 (9th Cir. Mar. 23, 2018).
15            5.     On April 3, 2018, Attorney for the United States,9 TRACY L. WILKISON,
16 Assistant United States Attorneys LAWRENCE MIDDLETON, KRISTEN A.
17 WILLIAMS, CATHY J. OSTILLER, ALEXANDER C.K. WYMAN, and any other
18 government’s counsel and/or employees involved in the preparation and filing of
19 “GOVERNMENT’S EX PARTE APPLICATION FOR ORDER DIRECTING
20 DISCLOSURE OF TAX RETURNS AND RETURN INFORMATION AND FOR
21 PROTECTIVE ORDER” (Dkt. 111), which states in relevant part:
22            During the course of the investigation leading to the First Superseding
              Indictment, the government investigated defendants OMIDI, IMS, SCM,
23
              and ZARRABI, as well as other individuals and entities associated with the
24            network of entities controlled by defendant OMIDI known as “GET THIN,”
25            for potential tax and money laundering violations. (See, Declaration of
              Alexander C.K. Wyman (“Wyman Decl.”) ¶ 2.)
26
27
      9
          Acting under authority conferred by 28 U.S.C. § 515.
28
30           Case No. CR 17-00661(A)-DMG           18
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 1          In connection with the tax and money laundering investigations,
            government counsel obtained copies of certain GET THIN individuals and
 2
            entities’ tax returns and return information. (Id.) Government counsel
 3          received these tax returns and return information from Special Agents with
 4          the Internal Revenue Service – Criminal Investigations (“IRS-CI”) pursuant
            to 26 U.S.C. § 6103(h)(2), which authorizes the Internal Revenue Service’s
 5          disclosure of tax returns and return information to an employee of the
 6          Department of Justice in a matter involving tax administration for the
            Department of Justice employee’s use in a federal grand jury proceeding.
 7          (Wyman Decl. ¶ 2.)
 8          (Dkt. 111, at pp. 1-2 (emphasis added).)
 9          6.    Attached hereto as Exhibit 3 is a true and correct copy of
10 “GOVERNMENT’S EX PARTE APPLICATION FOR ORDER DIRECTING
11 DISCLOSURE OF TAX RETURNS AND RETURN INFORMATION AND FOR
12 PROTECTIVE ORDER” (Dkt. 111).
13
14          I declare under penalty of perjury of the laws of the United States that the foregoing
15 is true and correct.
16
17          DATED: April 13, 2018                         /s/ Kamille Dean
18                                                        Kamille Dean
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 1                                 CERTIFICATE OF SERVICE
 2
 3          I hereby certify that, on April 13, 2018, I electronically filed the following

 4 document(s) with the Clerk of the Court for the United States District Court for the
 5 Central District of California, by using the district court’s CM/ECF system:
 6          DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR AN
            ORDER TO SHOW CAUSE WHY GOVERNMENT’S COUNSEL
 7          SHOULD NOT BE SANCTIONED FOR RULE (E) VIOLATION;
            REQUEST FOR ORDER TO COMPEL DISCOVERY PENDING AN
 8          EVIDENTIARY HEARING; MEMORANDUM OF POINTS AND
            AUTHORITIES IN SUPPORT THEREOF; AND DECLARATION OF
 9          KAMILLE R. DEAN IN SUPPORT THEREOF
10          I further certify that all participants in the case are registered CM/ECF users and
11 that service will be accomplished by the district court’s CM/ECF system.
12
13                                           s/ Kamille R. Dean
14                                           Kamille R. Dean, Esq.
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30         Case No. CR 17-00661(A)-DMG           20
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31             GOVERNMENT’S COUNSEL SHOULD NOT BE SANCTIONED FOR RULE 6(E) VIOLATION;
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